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IN THE UNITED STATES DISTRICT court’ E C E | V E D

NORTHERN DISTRICT OF ILLINOIS die ae
EASTERN DIVISION MAX 3D 2019

MESUE JACKSON,
Plaintiff,
Vv.
Northern Illinois University College of Law,

Defendant,

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MICHAEL W. DOBBINS
CLERK, U.S. DISTRICT COURT

JUDGE NORGLE
MAG, JUDGE NOLAN

COMPLAINT

Now come the Plaintiff Mesue Jackson, and hopefully an appointed attorney from the courts

(name unknown), against the Defendant Northern Illinois University College of Law, and

complains as follows:

1. This action is for disability discrimination (Title II of the Americans with Disabilities Act
of 1990 Section 203 (Title II, 42 U.S.C. 12132, and its implementing regulation at 28
C.F.R. Part 35, which prohibit discrimination on the basis of disability by public entities).

a. Race discrimination:

Title VI of the Civil Rights Act of 1964 and 42 U.S.C. 1981/Title 34 — Education/Appendix A to
Part 100/Appendix B to Part 100/ § 100.1 Purpose, § 100.2 Application of this regulation, §
100.3 Discrimination prohibited, § 100.4 Assurances required, § 100.5 Illustrative application.

b. Sex discrimination:

Title IX of the Education Amendments of 1972/ Subpart A § 106.1/ Subpart C
§ 106.15 Admissions/Subpart C—Discrimination on the Basis of Sex in Admission and
Recruitment Prohibited § 106.21 Admission/Subpart C --- § 106.22 Preference in admission.

c. Age Discrimination:

The Age Discrimination Act of 1975/US Code -76: Age discrimination in federally assisted

programs, Section 6101 through Section 6107.

2. The plaintiff is Mesue Jackson of the county of Cook, in the state of Illinois.

 

 

 
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3. The defendantis.’ 9’ 2:3 aw ©"... (Bertrand J. Simpson, Jr.), whose street
address is Northern Illinois University, DeKalb, Illinois 60115 (Defendant’s telephone
number) 815-753-8595.

4. The plaintiff sought admissions at the defendants (NIUCL) aforementioned address listed
above.

5. The plaintiff was: (a) denied admissions to the JD law program by the defendant.

6. The defendant discriminated against the plaintiff on or about, April, 10", 2008. The

plaintiff's latest application for admissions was submitted in 2007 for the JD entering
class of 2008.

7. The defendant is not a federal governmental agency, nor a recipient of Federal financial
assistance, and is a public entity, Title II jurisdiction is used to cover this complaint. A
complaint was filed with the Department of Education. According to OCR, who has
jurisdiction over this complaint (a) the plaintiff has filed a charge or charges against the
defendant asserting the acts of discrimination indicated in this complaint with the
following government agencies: (ii) The United States Department of Education on or
about May 12, 2008 (1 final decision from Dept of Education was on Oct 08, 2008; an
decision from appeal was given on January 23, 2009, but request for appeal was
submitted December 8, 2008; third appeal to Deputy Assistant Secretary/Office of Civil
Rights/U.S. Dept of Education in Washington D.C. 20202, at address: 400 Maryland
Ave, was received by them on March 24, 2009, and plaintiff has not received any
correspondence back from the U.S, Dept of Education even up to this present date of
January 4", 2009). (b) If charges were filed with an agency indicated above, and a copy
of the charge is attached, answer Yes or No: Answer is: Yes. Additionally, plaintiff does
not believe that all the necessary steps of action surrounding the U.S. Dept. of
Education’s policy were followed in this case.

 

8. (a) the United States Department of Education has issued a Notice of Right to Sue, by
filing a private suit pursuant to section 203 of the Americans with Disabilities Act,
whether or not OCR finds a violation of Title II; in which was received by the plaintiff on
October 08, 2008, a copy of which Notice is attached to this complaint. However,
correspondence has not been received from the appeal letter, after OCR received proof
that their original finding was wrong, in which OCR admitted the submission of new
proof was cause to change their original ruling to favor plaintiff, but they knowingly
failed to overturn their original decision to favor the plaintiff. Therefore, a third appeal
was implemented to get the decision to be rightfully overturned to favor the plaintiff,
since OCR admitted that the proof submitted by plaintiff in an appeal letter warranted a
change in OCR’s initial decision. ,

 

 
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11.

If the defendant is a state, county, municipal (city, town or village) or other local
governmental agency, plaintiff further alleges discrimination on the basis of race, color,
or national origin (42 U.S.C. 1983).

Jurisdiction over the statutory violation alleged is conferred as follows: for Title VI
claims by 28 U.S.C. 1331, 28 U.S.C. 1343(a) (3), and 42 U.S.C. 200000-5(1)(3); for 42
U.S.C. 1981 and 1983 by 42 U.S.C. 1988; for the A.D.E.A. by 42 U.S.C. 12117; for the
Rehabilitation Act, 29 U.S.C. 791. 7’7M NOT SURE WHAT THIS AREA IS ABOUT,
NOR IF CORRECT????727727?)

The defendant led me to believe that I was discriminated because (a) they denied me
admissions three consecutive years (b) because they lied to OCR and told them they were
not aware of or knowledgeable that I was disabled as reason to justify why they applied
normal admissions standards even though they were asked in an “additional statement” to
apply accommodations in the admissions process (c) because of their low % of disabled
students who are currently attending their law school (d) because of their low % of black
women currently attending their law school (e) because of their low % of black students
cutrently in their JD program (f) because at the open house I attended, there were only
two black students out of about two through three hundred students, and I was not
accepted even for diversity purposes despite the claims NIUCL that their law school
accepts a diversified pool of candidates to their JD program (g) because they told the
investigators that I was denied entry because “my application was not considered
competitive.” (h) because they told investigators that they denied me admissions because
I had a weak work history even thou I told them that I had a gap in my work history as a
result of being bedridden from the accident that disabled me, and because according to
the ABA it does not matter if you have a work history or not, because most students who
are admitted to law school do not have any work history (i) because they told
investigators that they denied me admissions because I had one incident on my legal
record that stated I was found not guilty of a crime where I was falsely accused, and
NIUCL decided to make me “guilty” even thou the court stated that I was “not guilty.” Gj)
because they refused to take my LSAT score and my GPA (4.0) into consideration
together like the ABA stated and denied me admissions only based on my low LSAT
score (k) because they failed to admit me under the “rolling basis program” or the
“scaling basis program” which allows the admissions committee to pick around 30
students who fall short of meeting their admissions criteria where these chosen students
are required to attend a summer law course, and if they do well, they are admitted to the
law school, but I was denied admissions even under this program three consecutive years,
even thou I asked about the program by name twice in my last two applications for
admissions (J) because their conduct was rude when Kathy, an advocate for the Center
for Independent living tried to contact them on my behalf, to see why they denied me

 

 
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entry even though they were aware that I was asking for accommodations surrounding
disability, and they display unprofessional conduct to the advocate that appeared to be not
friendly toward disabled persons (k) potentially, because of my age.

12. Why I felt I should have been admitted (a) because I was a qualified student (b) because |
passed the LSAT score despite experiencing extenuating circumstances around the same
time I took the test (c) because I passed the LSAT without studying (d) because I had a
high GPA which was a 4.0 (e) because I maintained a high GPA throughout most of my
collegiate experience with different learning institutions (f} because my clean legal record
shows that I respect and uphold our laws, and that I would be a great candidate to help
ensure that the law was applied and upheld, as a future attorney (g) because I display the
characteristics needed to be a great student an attorney for life, as I am analytic,
compassionate toward others, lover and respecter of all people, tenacious in defending a
good cause, treat people like I want to be treated, believe in being a voice for the
underserved and defenseless population who are violated daily and do not know their
rights or how to pursue injustices, I am honest, a good listener, caring, and not afraid to
pursue law violators (h) because I have the gifted ability to easily find the flaw in the
story whenever I am confronted with a situation where pieces of the situation is missing
(i) because I am done with my masters degree, and I still wanted to be an attorney (j)
because I can help increase the low or declining % of black students and black females
who are currently studying or practicing law which can present a more equal pay bracket
for other graduating law students of other ethnicities as a result of black women attorneys
getting a higher salary because there is few black women attorneys in the legal field (k)
because my physical limitations should not be a factor to bar me from having an
opportunity to study or practice law (1) because I worked hard through extenuating
circumstances and accomplished almost four degrees while maintaining a high GPA (m)
because I applied to law school three times and did not give up on pursing my dream and
passion to study law.

13. The Defendant:

(a) Failed to admit the plaintiff

(b) Failed to reasonably accommodate the plaintiff's disabilities

(c) Failed to acknowledge or provide the plaintiffs request for accommodations surrounding
the LSAT score and the gap in plaintiff's work history that was affected as a result of
plaintiff becoming physically disabled from an accident and from extenuating circumstances
stemming from the accident that occurred after the accident, which was out of plaintiff's
control. Therefore, the defendant intentionally refused to provide the requested
accommodation in the specified areas aforementioned above, and applied normal admissions
standards that failed to acknowledge or take into consideration areas of the admissions
process that was out of the plaintiff's control; which, was wrongfully and intentionally used
to deny the plaintiff admissions without regards to circumstances surrounding plaintiffs
physical disability.

 

 
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(d) Wrongfully, utilized bias admissions standards to deem the plaintiff as an “unqualified
student” for admissions when plaintiff was indeed qualified.

(c) failed to follow the American Bar Association’s (ABA) rules and regulations for law
school personnel to follow when deciding admissions for prospective law students, which
warns the admissions committee to not use the LSAT score solely for determining
admissions because it can wrongfully deny a qualified student as being “unqualified.” Also,
the ABA mandates the admissions committee to use the prospective students GPA in
combination with the LSAT score if the score is low. Whereas, the defendant refused due to
biases about the plaintiffs undergraduate and graduate schools that the plaintiff graduated
from even though these learning institutions were accredited by the same accrediting agency
as the defendant.

(d) failed to admit the plaintiff under a program called the “scaling basis” or “rolling basis”
where the admissions committee can pick around 30 students who fall short of meeting the
law schools requirements for admissions, and they are offer an opportunity to attend a small
summer law course, and if they do well they are guaranteed admissions. Whereas, the
plaintiff requested this program in her last two applications as a last resort, to gain
admissions at the defendant’s law school, where the plaintiff's request was repeatedly denied
due to biases that were not associated with the plaintiffs true credentials.

(e) Provided OCR with bias admissions standards that was used to deem the plaintiff as
“unqualified for admissions” when in fact the plaintiff was qualified. The bias admission
standards that the defendant provided to OCR went against the rules and regulations
stipulated by the ABA regarding the areas the defendant knowingly and intentionally used to
cover up their deceptive actions against the plaintiff surrounding admissions.

(f) Failed to properly inform the plaintiff how to inform the admissions committee about a
request for accommodations in certain areas of the admissions process, as a result of
extenuating circumstances surrounding an accident that left the plaintiff physically disabled.
However, the plaintiff as well as other professionals who were activists or representatives for
equality for disabled persons, that contacted the defendant on multiple occasions to help
ensure plaintiff's request for accommodations were upheld, after plaintiff informed them that
she was unable to get the defendants to provide an admissions accommodation surrounding
her status as a disabled person. These professionals were from the Center of Independent
Living and from the Department of Rehabilitation that spoke to the defendants on behalf of
the plaintiff, and about the plaintiffs request for accommodations; in which, they respondent
that the admissions personnel and disability department (defendant) were not very friendly or
helpful in providing advice on how to ensure plaintiff's request for accommodations would
not be overlooked, as a disabled student trying to gain admissions.

14, The defendant: (a) failed to provide admissions to plaintiff; (b) failed to take the
plaintiff's disability in consideration, and denied being aware of or knowledgeable of the
plaintiff's status as a physically disabled person (c) failed to take into consideration the
plaintiff's “ hardship” surrounding extenuating circumstances associated with an
accident that left the plaintiff permanently physically disabled, that was stipulated in an
additional statement to the admissions committee (d) failed to apply requested
accommodations in the admissions process, and applied normal admissions standards in

 
 

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reviewing the plaintiff application (e) failed to take plaintiff's LSAT score in
consideration with her GPA (4.0) in the admissions process

Defendant failed to reasonably accommodate the plaintiffs disability. And, they lied to
OCR about not being made aware, but plaintiff submitted proof to OCR and they
responded the defendant was aware of the plaintiffs disability and request for
accommodations.

The facts supporting the plaintiff's claim of discrimination are as follows: Defendant
deemed Plaintiff, a qualified student as being unqualified for admissions at Northern
Illinois University College of Law due to bias admission standards that were not
consistent with the admission standards that were stipulated by the American Bar
Association, that were required for admissions committee personnel to follow when
deciding admissions for prospective students to the JD program. Additionally, Defendant
refused to provide admissions to Plaintiff, by failing to grant requested accommodations
that asked the admissions committee or deciding personnel to wave or to take into
consideration certain areas surrounding requirements for admissions, as a result of a
special circumstance or hardship that was out of the Plaintiff's control, and would
potentially cause the Plaintiff to fall short of meeting a couple areas regarding NIUCL’s
admissions requirements. Furthermore, Plaintiff filed a complaint with the U.S.
Department of Education, and submitted an appeal surrounding the Department’s original
decision with proof to prove the Defendant did not tell the truth that they were aware of
the Plaintiffs special circumstances or request for accommodations; in which, the Plaintiff
submitted proof (documentation) that conflicted with what NIUCL’s statement that they

were not aware; in which, the Department of Education overturn the decision to favor the
Plaintiff.

[Disability, Race, Sex, and Age Discrimination only] Defendant knowingly, intentionally,
and willfully discriminated against the plaintiff.

The plaintiff demands that the case be tried by a jury: Yes or No? Answer: Yes

THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
[check only these that apply]:

(a) Direct the defendant to admit the plaintiff to their JD law program with a full ride

scholarship, at no cost to plaintiff;

(b) Direct defendant to reasonably accommodate the plaintiff's disabilities.

(c) If available, grant the plaintiff appropriate injunction relief, compensatory damages,

punitive damages, attorney fees and expert witness fees.

(d) Direct the defendant to grant relief requested by the plaintiff, such as the following.
1. $500,000 for damages

 

 
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2. Full ride scholarship to their JD law or cost of 3 year legal education
3. Pay off student loans (because defendant placed me in great danger of
defaulting) on student loans).
(e) Grant such other relief as the Court may find appropriate.

 

 
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A

(Plaintiffs name)
Mesue Jackson

 

(Plaintiff's street address)
168 Heritage Ln.
Streamwood, IL 60107

(Plaintiff's telephone number) 847-893-6565

Date: January 1, 2010

 

 

 
